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IN THE UNITED STATES DISTRICT COURT

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FOR THE NORTHERN DISTRICT OF TEXAS .

 

 

DALLAS DIVISION MA a COERT
UNITED STATES OF AMERICA, § . a
v. Case Number: 3:21-CR-00112-E(7)
MARCOS GARCIA REYES, :
Defendant. :

REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

 

MARCOS GARCIA REYES, by consent, under authority of United States v. Dees, 125 F.3d 261 (Sth Cir. 1997),
has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count(s) 1 of the Indictment.
After cautioning and examining MARCOS GARCIA REYES under oath concerning each of the subjects mentioned in
Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the offense(s) charged is supported by
an independent basis in fact containing each of the essential elements of such offense. I therefore recommend that the plea
of guilty be accepted, and that MARCOS GARCIA REYES be adjudged guilty of 21 U.S.C. § 846 Conspiracy to Possess
with Intent to Distribute a Schedule I Controlled Substance and have sentence imposed accordingly. After being found
guilty of the offense by the district judge,

x The defendant is currently in custody and should be ordered to remain in custody.

Cc The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear and
convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community

if released.

O The Government does not oppose release.

O The defenttant has been compliant with the current conditions of release.

O I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any other

person or the community if released and should therefore be released under § 3142(b) or (c).

The Government opposes release.

The defendant has not been compliant with the conditions of release.

If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
Government.

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Oo The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1)(a) the Court finds there isa
substantial likelihood that a motion for acquittal or new/frialwwill be granted, or (b) the Government has
recommended that no sentence of imprisonment be imposéd, or (c) exceptional circumstances are clearly shown
under § 3145(c) why the defendant should not be detained, /and (2) the Court finds by clear and convincing evidence
that the defendant is not likely to flee or pose a danger top ftgon or the community if released.

  

Date: 21st day of October, 2021.

 

UNITED STAFES’MAGISTRATE JUDGE
NOTICE
Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of its

service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United States
District Judge. 28 U.S.C. §636(b)(1)(B).
